                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      NO. 3:13-00209
                                                 )
JUAN COLLAZO                                     )




                                        ORDER

        The Court has been advised by the Clerk of Court that three recorded deeds of trust

have been filed with the Clerk of Court today, October 25, 2013. It is hereby

        ORDERED that defendant Juan Collazo be released from custody on the

Appearance and Compliance Bond and Release Order and Conditions of Release executed

on October 17, 2013.

        It is so ORDERED this 25 t h day of October, 2013.




                                          JULIET GRIFFIN
                                          United States Magistrate Judge




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